         Case 20-12303-amc
 Fill in this information to identify the case:
                                               Doc        Filed 05/07/25 Entered 05/07/25 14:51:17                         Desc Main
                                                          Document      Page 1 of 5
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1               Theodore A. Green
                       __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         Eastern
 United States Bankruptcy Court for the: ______________________             PA
                                                                District of __________
                                                                             (State)
 Case number             20-12303-amc
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                        10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor: Elizon Master Participation Trust I, U.S. Bank Trust National Association, as Owner
                                                                  Trustee                                     4-1
                                                                                                              _________________

 Last 4 digits of any number you use to identify the debtor’s account:                        4289
  Property address:                923 Jackson Street
                                   ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                   Sharon Hill                PA      19079
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

   Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

   Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date                 $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

   Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:              ____/_____/______
                                                                                 MM / DD / YYYY

   Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                           (a)
                                                                                                                                      11,383.94
                                                                                                                                    $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                          1,394.33*
                                                                                                                          + (b) $ __________
        c. Total. Add lines a and b.                                                                                          (c)     12,778.27
                                                                                                                                    $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became              07 01       2024      * PPFN filed 10/22/2020 outstanding iao $1,770.10;
                                                                                 ____/_____/______     less suspense $375.77
        due on:                                                                  MM / DD / YYYY


Form 4100R                                                 Response to Notice of Final Cure Payment                                           page 1
         Case 20-12303-amc                        Doc           Filed 05/07/25 Entered 05/07/25 14:51:17                         Desc Main
                                                                Document      Page 2 of 5

Debtor 1
                 Theodore A. Green
              _______________________________________________________
                                                                                                                 20-12303-amc
                                                                                             Case number (if known) _____________________________________
              First Name       Middle Name               Last Name




 Part 4:     Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
   all payments received;
   all fees, costs, escrow, and expenses assessed to the mortgage; and
   all amounts the creditor contends remain unpaid.




 Part 5:     Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

   I am the creditor.
   I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




             __________________________________________________
              /s/Lauren M. Moyer
                  Signature
                                                                                             Date
                                                                                                     05 07      2025
                                                                                                     ____/_____/________




 Print
                  Lauren M. Moyer
                  _________________________________________________________                  Title
                                                                                                     Creditor's Attorney
                                                                                                     ___________________________________
                  First Name                      Middle Name         Last Name



                  Friedman Vartolo LLP
 Company          _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address
                  1325 Franklin Avenue, Suite 160
                  _________________________________________________________
                  Number                 Street


                  Garden City                     NY
                  ___________________________________________________
                                                                              11530
                  City                                                State       ZIP Code




 Contact phone     212 _____–
                  (______)     5100
                           471 _________                                                           bankruptcy@friedmanvartolo.com
                                                                                             Email ________________________




Form 4100R                                                       Response to Notice of Final Cure Payment                                       page 2
            Case 20-12303-amc                                 Doc              Filed 05/07/25 Entered 05/07/25 14:51:17                                                                      Desc Main
                                                                               Document      Page 3 of 5

Post-Petition                n                   Post Suspense Short Fall Balance            $375.77
                                                            Post-                                                                                Credit to       Debit       Post
                             Transaction      Amount       petition    Post Amt Due     Contractual    Principal &                 Posting         Post        from Post   Suspense
          Transaction Type      Date          Received    Due Date         Per PCN      Amt Applied     Interest      Escrow      Over/Short     Suspense      Suspense     Balance
Beginning Balance                5/14/2020      $0.00       5/1/2020                                                                                   $0.00       $0.00       $0.00
Post-Petition                      6/5/2020    $998.71      6/1/2020         $998.71        $998.71         $514.85     $483.86          $0.00         $0.00       $0.00        $0.00
Post-Petition                      7/7/2020    $998.71      7/1/2020         $998.71        $998.71         $514.85     $483.86          $0.00         $0.00       $0.00        $0.00
Post-Petition                     8/10/2020    $998.71      8/1/2020         $998.71        $998.71         $514.85     $483.86          $0.00         $0.00       $0.00        $0.00
Post-Petition                     9/18/2020    $998.71      9/1/2020         $998.71        $998.71         $514.85     $483.86          $0.00         $0.00       $0.00        $0.00
Post-Petition                    10/28/2020    $998.71     10/1/2020         $998.71        $998.71         $514.85     $483.86          $0.00         $0.00       $0.00        $0.00
Post-Petition                    11/27/2020    $998.71     11/1/2020         $998.71        $998.71         $514.85     $483.86          $0.00         $0.00       $0.00        $0.00
Post-Petition                    12/31/2020    $998.71     12/1/2020         $998.71        $998.71         $514.85     $483.86          $0.00         $0.00       $0.00        $0.00
Post-Petition                     1/29/2021    $998.71      1/1/2021         $998.71        $998.71         $514.85     $483.86          $0.00         $0.00       $0.00        $0.00
Post-Petition                     3/23/2021   $1,022.88     2/1/2021        $1,022.28      $1,022.28        $514.85     $507.43          $0.60         $0.60       $0.00        $0.60
Post-Petition                     4/21/2021   $1,022.28     3/1/2021        $1,022.28      $1,022.28        $514.85     $507.43          $0.00         $0.00       $0.00        $0.60
Post-Petition                     5/24/2021   $1,022.28     4/1/2021        $1,022.28      $1,022.28        $514.85     $507.43          $0.00         $0.00       $0.00        $0.60
Post-Petition                     6/25/2021   $1,022.28     5/1/2021        $1,022.28      $1,022.28        $514.85     $507.43          $0.00         $0.00       $0.00        $0.60
Post-Petition                     7/23/2021   $1,022.28     6/1/2021        $1,022.28      $1,022.28        $514.85     $507.43          $0.00         $0.00       $0.00        $0.60
Post-Petition                      9/4/2021   $1,022.28     7/1/2021        $1,022.28      $1,022.28        $514.85     $507.43          $0.00         $0.00       $0.00        $0.60
Post-Petition                     10/1/2021   $1,022.28     8/1/2021        $1,022.28      $1,022.28        $514.85     $507.43          $0.00         $0.00       $0.00        $0.60
Post-Petition                    11/15/2021   $1,022.28     9/1/2021        $1,022.28      $1,022.28        $514.85     $507.43          $0.00         $0.00       $0.00        $0.60
Post-Petition                     12/3/2021   $1,022.28    10/1/2021        $1,022.28      $1,022.28        $514.85     $507.43          $0.00         $0.00       $0.00        $0.60
Post-Petition                      1/7/2022   $1,022.28    11/1/2021        $1,022.28      $1,022.28        $514.85     $507.43          $0.00         $0.00       $0.00        $0.60
Post-Petition                      2/7/2022   $1,022.28    12/1/2021        $1,022.28      $1,022.28        $514.85     $507.43          $0.00         $0.00       $0.00        $0.60
Post-Petition                     3/17/2022   $1,192.85     1/1/2022        $1,022.28      $1,022.28        $514.85     $507.43        $170.57      $170.57        $0.00     $171.17    **MFR Shortfall credited to AO iao 0*
Agreed-Order Filed                 4/7/2022                 1/1/2022                                          $0.00       $0.00          $0.00         $0.00       $0.00     $171.17    **Agreed Order Brought Debtor Current**
Post-Petition                     4/29/2022   $1,192.85     2/1/2022        $1,192.85      $1,192.85        $514.85     $678.00          $0.00         $0.00       $0.00     $171.17
Post-Petition                     5/27/2022   $1,192.85     3/1/2022        $1,192.85      $1,192.85        $514.85     $678.00          $0.00         $0.00       $0.00     $171.17
Post-Petition                     6/30/2022   $1,192.85     4/1/2022        $1,192.85      $1,192.85        $514.85     $678.00          $0.00         $0.00       $0.00     $171.17
Post-Petition                      8/5/2022   $1,192.85     5/1/2022        $1,192.85      $1,192.85        $514.85     $678.00          $0.00         $0.00       $0.00     $171.17
Post-Petition                     8/26/2022   $1,192.85     6/1/2022        $1,192.85      $1,192.85        $514.85     $678.00          $0.00         $0.00       $0.00     $171.17
Post-Petition                     9/30/2022   $1,192.85     7/1/2022        $1,192.85      $1,192.85        $514.85     $678.00          $0.00         $0.00       $0.00     $171.17
Post-Petition                    10/31/2022   $1,192.85     8/1/2022        $1,192.85      $1,192.85        $514.85     $678.00          $0.00         $0.00       $0.00     $171.17
Post-Petition                     12/1/2022   $1,192.85     9/1/2022        $1,192.85      $1,192.85        $514.85     $678.00          $0.00         $0.00       $0.00     $171.17
Post-Petition                      1/5/2023   $1,192.85    10/1/2022        $1,192.85      $1,192.85        $514.85     $678.00          $0.00         $0.00       $0.00     $171.17
Post-Petition                      2/3/2023   $1,192.85    11/1/2022        $1,192.85      $1,192.85        $514.85     $678.00          $0.00         $0.00       $0.00     $171.17
Post-Petition                      3/2/2023   $1,245.15    12/1/2022        $1,192.85      $1,192.85        $514.85     $678.00         $52.30        $52.30       $0.00     $223.47
Post-Petition                     3/31/2023   $1,245.15     1/1/2023        $1,192.85      $1,192.85        $514.85     $678.00         $52.30        $52.30       $0.00     $275.77
Post-Petition                      5/1/2023   $1,245.15     2/1/2023        $1,245.15      $1,245.15        $514.85     $730.30          $0.00         $0.00       $0.00     $275.77
Post-Petition                      6/1/2023   $1,245.15     3/1/2023        $1,245.15      $1,245.15        $514.85     $730.30          $0.00         $0.00       $0.00     $275.77
Post-Petition                     6/30/2023   $1,245.15     4/1/2023        $1,245.15      $1,245.15        $514.85     $730.30          $0.00         $0.00       $0.00     $275.77
Post-Petition                      8/2/2023   $1,245.15     5/1/2023        $1,245.15      $1,245.15        $514.85     $730.30          $0.00         $0.00       $0.00     $275.77
Post-Petition                     8/31/2023   $1,245.15     6/1/2023        $1,245.15      $1,245.15        $514.85     $730.30          $0.00         $0.00       $0.00     $275.77
Post-Petition                     9/30/2023   $1,245.15     7/1/2023        $1,245.15      $1,245.15        $514.85     $730.30          $0.00         $0.00       $0.00     $275.77
Post-Petition                    11/11/2023   $1,245.15     8/1/2023        $1,245.15      $1,245.15        $514.85     $730.30          $0.00         $0.00       $0.00     $275.77
Post-Petition                    12/20/2023   $1,245.15     9/1/2023        $1,245.15      $1,245.15        $514.85     $730.30          $0.00         $0.00       $0.00     $275.77
Post-Petition                      1/8/2024   $1,245.15    10/1/2023        $1,245.15      $1,245.15        $514.85     $730.30          $0.00         $0.00       $0.00     $275.77
Post-Petition                      2/7/2024   $1,245.15    11/1/2023        $1,245.15      $1,245.15        $514.85     $730.30          $0.00         $0.00       $0.00     $275.77
Post-Petition                     3/12/2024   $1,020.70    12/1/2023        $1,245.15      $1,245.15        $514.85     $730.30       -$224.45         $0.00     $224.45       $51.32
Post-Petition                      4/8/2024   $1,020.70                                                                                            $1,020.70       $0.00    $1,072.02
Post-Petition                     5/14/2024   $1,020.70     1/1/2024        $1,245.15      $1,238.76        $514.85     $730.30       -$224.45         $0.00     $224.45     $847.57
Post-Petition                      6/4/2024   $1,020.70     2/1/2024        $1,020.70      $1,020.70        $514.85     $505.85          $0.00         $0.00       $0.00     $847.57
Post-Petition                      7/1/2024   $1,020.70     3/1/2024        $1,020.70      $1,020.70        $514.85     $505.85          $0.00         $0.00       $0.00     $847.57
Post-Petition                      8/5/2024   $1,020.70     4/1/2024        $1,020.70      $1,020.70        $514.85     $505.85          $0.00         $0.00       $0.00     $847.57
Post-Petition                      9/3/2024    $274.45      5/1/2024        $1,020.70      $1,020.70        $514.85     $505.85       -$746.25         $0.00     $746.25     $101.32
Post-Petition                     9/30/2024    $274.45                                                                                              $274.45        $0.00     $375.77
Post-Petition                    11/10/2024   $1,020.70     6/1/2024        $1,020.70      $1,020.70        $514.85     $505.85         $0.00          $0.00       $0.00     $375.77
Case 20-12303-amc         Doc     Filed 05/07/25 Entered 05/07/25 14:51:17            Desc Main
                                  Document      Page 4 of 5



                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:    Theodore A. Green                          CASE NO.: 20-12303-amc
                        Debtor
                                                      CHAPTER 13
           Carrington Mortgage Services, LLC as
           servicer for Elizon Master Participation   Judge: Ashely M. Chan
           Trust I, U.S. Bank Trust National
           Association, as Owner Trustee              Hearing Date:
           v.

           Theodore A. Green                          Objection Deadline:
           Scott F. Waterman
                         Respondents

                                CERTIFICATE OF SERVICE

        I certify under penalty of perjury that I caused to be served the above-captioned pleading
on the parties at the addresses specified below or on the attached list on May 7, 2025.

        The type(s) of service made on the parties (first-class mail, electronic notification, hand
delivery, or another type of service) was: first-class mail and electronic notification

        If more than one method of service was employed, this certificate of service groups the
parties by the type of service. For example, the full name, email address, and where applicable the
full name of the person or entity represented, for each party served by electronic transmission is
listed under the heading “Service by NEF,” and the full name and complete postal address for each
party served by mail are listed under the heading “Service by First-Class Mail.”

EXECUTED ON: May 7, 2025
                                             By: /s/Lauren M. Moyer
                                             Lauren M. Moyer, Esq.
                                             FRIEDMAN VARTOLO LLP
                                             Attorneys for Carrington Mortgage Services, LLC
                                             as servicer for Elizon Master Participation Trust I,
                                             U.S. Bank Trust National Association, as Owner
                                             Trustee
                                             1325 Franklin Avenue, Suite 160
                                             Garden City, NY 11530
                                             T: (212) 471-5100
                                             F: (212) 471-5150
                                             Bankruptcy@FriedmanVartolo.com
Case 20-12303-amc         Doc   Filed 05/07/25 Entered 05/07/25 14:51:17   Desc Main
                                Document      Page 5 of 5



Service by Regular Mail

Theodore A. Green
923 Jackson Street
Sharon Hill, PA 19079
Bankruptcy Debtor

Service by NEF

Michael A. Cibik
1500 Walnut Street, Suite 900
Philadelphia, PA 19102
Attorney

Scott F. Waterman
2901 St. Lawrence Avenue, Suite 100
Reading, PA 19606
Bankruptcy Trustee

United States Trustee
Robert N.C. Nix Federal Building - Suite 320, 900 Market
Street Philadelphia, PA 19107
United States Trustee
